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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


OANDA CORPORATION,                    )
                                      ) Civil Action No. 20-05784-BRM-DEA
          Plaintiff,                  )
                                      )        DEFENDANTS’ NOTICE OF
     v.                               )           MOTION TO DISMISS
                                      )        PLAINTIFF’S COMPLAINT
GAIN CAPITAL HOLDINGS, INC., and GAIN )       PURSUANT TO RULE 12(b)(6)
CAPITAL GROUP, LLC,                   )
                                      ) Motion Date: August 17, 2020
          Defendants.                 )
                                      ) Oral Argument Requested
                                      )
                                      )
                                                  Document Filed Electronically

TO:           All Counsel of Record

              PLEASE TAKE NOTICE that on Monday, August 17, 2020 at 10:00 a.m., or

as soon thereafter as counsel may be heard, Defendants GAIN Capital Holdings, Inc. and GAIN

Capital Group, LLC (“Defendants”), by and through counsel herein, shall appear before the

Honorable Brian R. Martinotti, U.S.D.J., at the Clarkson S. Fisher Building & U.S. Courthouse,

402 East State Street, Trenton, New Jersey 08608, and shall move this Court for an Order

dismissing Plaintiff Oanda Corporation’s (“Plaintiff”) Complaint against them pursuant to


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Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be

granted.

              PLEASE TAKE FURTHER NOTICE that in support of their Motion, the

Defendants shall rely upon their Brief, the Declaration of Natalie J. Morgan (with exhibits),

submitted concurrently herewith, any Reply papers to be submitted, and oral argument, if any. A

proposed form of Order is also submitted for the Court’s consideration.

Dated: July 17, 2020                        Respectfully submitted,



                                             s/ Arnold B. Calmann
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